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                      UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

                                                          -X
WILLIAM JOSEPH CRIST                                             Civil Action No: 2:21-cv-03952-RMG
                                       Plaintiff,
                                                                 Master Docket No.: 2:18-mn-2873

                        -against-

3M COMPANY, f/k/a Minnesota Mining and Manufacturing             JUDGE RICHARD GERGEL
Company, AGC CHEMICALS AMERICAS INC.,
ARKEMA INC., BASF CORPORATION, BUCKEYE FIRE
EQUIPMENT          COMPANY,          CARRIER       GLOBAL
CORPORATION, CHEMDESIGN PRODUCTS, INC.,
CHEMGUARD, INC., CLARIANT CORPORATION,
CORTEVA, INC., DUPONT DE NEMOURS INC., f/k/a
DOWDUPONT, INC., DYNAX CORPORATION, E.I.
DUPONT DE NEMOURS AND COMPANY, individually
and as successor in interest to DuPont Chemical Solutions
Enterprise, KIDDE-FENWAL, INC., NATIONAL FOAM,
INC., THE CHEMOURS COMPANY, individually and as
successor in interest to DuPont Chemical Solutions
Enterprise, THE CHEMOURS COMPANY FC, LLC,
individually and as successor in interest to DuPont Chemical
Solutions Enterprise, TYCO FIRE PRODUCTS L.P., UTC
FIRE & SECURITY AMERICAS CORPORATION, INC.


                                        Defendants.
                                                           -X


                          SUGGESTION OF DEATH UPON RECORD

       Veronica Christ, as surviving spouse and representative of the Estate of William Joseph Crist,

suggests upon the record, pursuant to Federal Rule of Civil Procedure Rule 25(a)(1), the death of Plaintiff,

William Joseph Crist during the pendency of this action. Mr. Crist departed this life on July 22, 2023, and

Ms. Crist as appointed representative of the Estate of William Crist on August 11, 2023, wishes to

maintain and continue this cause of action as Plaintiff
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Dated: August 22, 2023                        Respectfully submitted

                                              LAW OFFICES OF JAMES VASQUEZ, P.C.
                                              Attorneys for Plaintiff

                                        By:   /s/ James Vasquez
                                                 JAMES VASQUEZ, ESQ.
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                                       CERTIFICATE OF SERVICE

I hereby certify that on this day 22nd day of August, 2023, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a copy of the foregoing pleading to all counsel

of record by notice of electronic filing.


                                       By:    /s/ James Vasquez




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